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From:             Do Not Reply <do_not_reply@laed.uscourts.gov>
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Subject:          New EDSS Filing Submitted
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Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Thursday, April
10, 2025 - 09:35.

The information for this submission is:

Filer's Name: Hiran Rodriguez

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Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459

Filer's Case Number (If Known): 2:25-CV-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Summons Returned Executed for The Kansas City Southern
Railway Company 04/09/2025




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